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                           UNITED STATES DISTRICT COURT
                           SO UT H ERN D IST RICT O F FLO RIDA

                         CASE NO :15-14303-CV-M IDDLEBROOK S

  TIM OTH Y D .W ILLSON ,

         Plaintiff,



  BAN K OF AM ER ICA ,N .A .,

         Defendant.


                 O RDER ON DEFENDANT'S M OTION FOR ABSTENTION

         THIS CAU SE comesbeforethe Courton Defendqnt'sM otion forthe Court'sAbstention

  from ExercisingJurisdiction (CiM otion''),filed M ay l3,2016. (DE 85). Plaintiffresponded on
   May l8,2016,(DE 91),to which Defendantreplied on M ay 19,2016 (DE 94). For the
   following reasons,theM otion isgranted.
         1.     BA CK GR O UN D l

         Thiscase arises outofalleged violations ofthe RealEstate SettlementProcedures Act

   ($tR.ESPA'')Regulation X. On February 23,2005,Plaintiff exccuted and delivered a note,
   secured by amortgageon apropertylocated at645 CypressRoad,Vero Beach,FL 32963.(the
   iipropertf'). Since February 2005,Defendanthas serviced the loan. Also since thattime,
   DefendanthasinitiatedfourforeclosureactionsagainstPlaintiff.

         Theinstantcaseconcernsthefourthforeclosureaction(theikFoul'
                                                                   thForeclosureAction').
   On December2,2013,Defendantfiled theFourth ForeclosureAction in Floridastatecourt(the
   CkForeclosureCourt').TheForeclosureCourtenteredaFinalOrderScheduling Trialon October
   l6,2014,setting thetrialdate forD ecem berl,2014.

   'Thebackgroundwaspredominantlytakenfrom mypreviousOrderonM ay2,2016.(DE 72).
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          On Novem ber 4, 2014, Plaintiff sent Defendant an email requesting a potential

  modification of the loan and including an attachment with the requesting documents,which

  Plaintiffcharacterizesasalossmitigation application (the StNovember4 Email''). TheParties
  dispute whetherthe attachmentto the November4 Em ailwasconupted and whether,dueto this

  alleged corruption,theNovember4 Emailwentto Defendant'sspam folder.

          On Decem ber 1, 2014, the Foreclosure Coul't held a trial on the Fourth Foreclosure

  Action(the$kTria1''). Onthesameday,DefendantsentPlaintiffanemailrequestingthatPlaintiff
  resend the request for the loss mitigation application,.stating the Novem ber 4 Email dkwas

  corruptedin (sicjitwenttoSPAM mail.''(DE 15-2at9).Plaintiffresentthedocumentsforthe
   loss m itigation application.

          On January 12,2015,the Foreclosure Courtentered a finaljudgmentofforeclosure
   againstPlaintiffand scheduled asale oftheProperty forFebruary 17,2015.

          On January 17,2015,Defendant inform ed Plaintiff that he did not qualify for a loss

   mitigation application(the$$Denial'').
          On January 27,2015,Plaintiff filed a M otion forRehearing and,in the Altem ative,an

   Evidentiary Hearing and M otion for Stay (skM otion for Rehearing''). ln the M otion for
   Rehearing,Plaintiffraised the argum entthat,due to the November 4 Em ail,RESPA Regulation

   X Sûprecluded rDefendant)formovingforafinalforeclosurejudgment.''TheForeclosureCoul't
   denied theM otion forRehearing on January 28,2015.

          PlaintiffsentDefendantanoticeoferroron Februà'ry 9,2015.Inthisfirstnoticeoferror
   (ssFirstNotice'),PlaintiffcontendsthatDefendantimproperlyfailedto respond totheNovember
   4 Email,thereby depriving him ofprotectionsunderRESPA Regulation X.
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          Plaintiff sentDefendant an appeal of the Denialon February 15,2015 (ttAppealof
  Denial''). Plaintiffthen sentDefendantasecondnoticeoferror(ddsecondNotice'')on February
   16,2015.

          Defendantresponded totheFirstNotice,theAppealofDenial,and the Second Notice,on

  M arch 18,2015.

          Plaintifffiled forbankruptcy to preventa foreclospre sale. On August27,2015,Plaintiff

  broughtthe instantaction alleging multiple violaticms underRESPA Regulation X. (DE 1).
  PlaintifffiledanAmendedComplaintonOctoberl6,2015.(DE 15).
          The firsttwo countsofthe Amended Complaintconcern Defendant's alleged failure to

  respond to theNovember4 Email.Count1allegesaviolation of12 C.F.R.j 1024.41(b)(2)for
   failure to provideswithin fivebusinessdays,written notification ofreceiptofthe lossm itigation

   application and indication whetherthe application wascomplete. (DE 15 at! 80). Count11
   alleges violations of 12 C.F.R. j 1024.41(g) for Ssmoving forward with conducting and
   introducing evidence''atthe Trial,despite D efendantallegedly having received a loss m itigation

   application.(DE 15at!(110).
          The rem aining counts concern Defendant's alleged failures in conducting an improper

   review oftheDenial.Count1I1allegesDefendantviolated 12 C.F.R.j 1024.41(h)forfailingto
   conductaproperreview ofPlaintiffsAppealofDenial.'(DE 15 at!! 126-30). Counts1V,V,
   and V1allege Defendantfailed to investigateand properlyrespond to PlaintiffsFirstand Second

   Notice.(DE 15at!! 147,160).
          On M ay 2,1entered an Ordergranting summaryjudgmentin favorofDefendantasto
   severalofPlaintiffs claimsand asto certain damages.' (DE 72). ln thatOrder,1rejected
   Defendant's argumentthatjurisdiction was lacking under Rooker-Feldman and lnoted that
   Defendantdidnotraise any abstentiondoctrines. (1d at9). On M ay 13,2016,Defendantfiled
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  the instant motion,arguing thatthis Courtshould abstain based on the ongoing Foreclosure
  Action, pursuantto Colorado River and Younger.2

         ll.       D ISC U SSIO N

         D efendantfirst argues that1 should abstain under Colorado River.3 In Colorado River,

  the Suprem e Courtrecognized that,in certain idexceptional''circum stances,abstention m ay be

  appropriate ûsdue to the presence of a concurrent state proceeding.'' Colorado River W ater

  Conservation Dist.v. United States,424 U.S.800,818 (1976). A s a threshold m atter, for
  Colorado Riverto apply,theremustbe difederaland stateproceedingsinvolvging)substantially
  the sam e parties and substantially the sam e issues.'' Ainbrosia Coal & Const. Co. v. Pages

  Morales,368F.3d 1320,1330(11th Cir.2004).Oncethethreshold hasbeen met,thereare six
  factors a courtconsiders in determ ining abstention'
                                                     .

         (1)whetherone ofthe courts has assumed jurisdiction over property,(2)the
         inconvenienceofthe federalforum,(3)thepotentialforpiecemeallitigation,(4)
         theorderinwhichtheforaobtainedjurisdiction,(5)whetherstateorfederallaw
         willbe applied,and (6)the adequacy ofthe state courtto protectthe parties'
         rights.

  ld at1331. ln addition to the six factors,tkithe vexatiousorreactivenature ofeitherthe federal

  orthe state litigation may influence the decision whetherto deferto a parallelstate litigation

  underColoradoRiver.t''1d.(quotingM osesff ConeM emorialHosp.v.Mercury Constr.Corp.,
  460U.S.1,17n.20 (1983)).Finally,itwhethertheconcurrentcasesinvolveafederalstatutethat
  evincesapolicy favoring abstention''isconsidered aswell.ld

         ddg-l-lhe decision whether to dismiss a federal action because of parallel state-court
  litigation does not rest on a m echanical checklist,but on a careful balancing of the im portant

  factors as they apply in a given case,w ith the balance heavily w eighted in favor ofthe exercise

  2To the extentleave isnecessary to tile the instantm otion, thatleave is granted.
  3A s Ifind abstention appropriate underColorado River, 1do not reach Defendant's argum ents
  based on Younger.
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   ofjurisdiction.''M osesH Ct?ae,460U.S.at16. idonefactoralonecan bethesolemotivating
   reason for the abstention,'' M oorer v.D em opolis Waterw orks & Sewer Bd.,374 F.3d 994,997

   (1lthCir.2004).
         A . Threshold Issue: C oncurrent State Litigation Involving the Sam e Parties and
             Substantially the Sam e Issues.

         l have already noted that there is a concurrent case in state courtinvolving the sam e

   parties. (DE 72 at9)(citing Timothy Willson v.Bank ofAmerica,4D15-552 (Fla.4th DCA
   2015)). Defendantcontends thatthe two proceedings involve substantially the same issues:
   whether,under RESPA,Defendant failed to respond to what Plaintiff claim s to have been a

   com plete loss m itigation application on N ovem ber 4,2014, and w hether Defendant,therefore,

   improperly proceeded to the Trialand finaljudgmentofforeclosure. (DE 85 at4-5). ln the
  Foreclosure A ction,Plaintiff moved fora rehearing,arguing Defendant violated RESPA for

   moving to foreclosure judgment. The Foreclosure Courtdenied thatmotion and Plaintiff is
   currentlyappealingtheforeclosurejudgmentanddenialoftheM otionforRehearing.(DE 94-2).
         In response,Plaintiff contends that,although the two cases involve some similar facts,

  theydo notseekthesamerelief.(DE 91at2). Specifically,Plaintiffcontendsddlajtnopointin
  timeintheinstantmatterhasPlaintiffeveralleged anydeficiency with theforeclosurejudgment
   itself,ratherPlaintiffisonly seeking damagesforviolationsoffederal1aw thatinvolved conduct

   oftheservicerrelativetotheforeclosureprocess....''(f#.).
         AlthoughPlaintiffseeksmoney damagesasopposed toastay orinjunction involvingthe
   foreclosure sale, the issues are the same- plaintiff seeks a determ ination that Defendant

   improperlymovedforforeclosurejudgmentin violationofRESPA.Here,Plaintiffdoesnotseek
  the specific findingthattheForeclosure Courtentered thejudgmentin error. However,such a
   determ ination is necessary if Plaintiff is to succeed in establishing his current claim :that
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  Defendant caused adual harm to Plaintiff by violating RESPA in moving for foreclosure

  judgment. M oreover,although Plaintiffiscorrectto notethatmostofhisoriginalclaimswere
  based on eventsthatoccurred aftertheforeclosurejudgmentwasentered,thesuccessofal1of
  Plaintiff s claim s turn on the sam e underlying issue- w hether D efendant violated RESPA by

  proceedingto theTrial.ThissameissuewasraisedintheM otion forRehearingandrejectedby
  the Foreclosure Court. Thus,the tw o casesinvolve substantially the sam e issues.

         B. Balancing the Factors

         A s this case concerns the sam e parties and substantially the sam e issues as the state court

  case,lnextturn to whetherthe ColoradoRiverfactorsstrongly weigh in favorofabstention.

         Jurisdiction over property. The first factor considers i%w hether one of the courts has

  assumedjurisdiction overproperty.'' Ambrosia,368 F.3d at1332. Thisfactorweighsagainst
  transferwhen (ineitherthedistrictcourtnorthe statecircuitcourtassumedjurisdiction overany
  property.'' Jackson-plattsv.Gen.Elec.CapitalCorp.,727 F.3d 1127,114l (11th Cir.2013).
  W herethe statecourthasassertedjurisdiction overrealproperty,thisfactorweighsinfavorof
  abstention. Beepotv.JP.M organ Chase Nat.Corp.Servs.,Inc.,No.3:l0-CV-423-J-34TEM ,

  2011W L 4529604,at*8(M .D.Fla.Sept.30,2011)(ssMostsignificantly,theFloridacourtinthe
  StateCourtForeclosureProceedinghasassumedjurisdiciion ofthe Floridaproperty,satisfying
  the first, and in thiscase,the mostimportantfactor.'').
                                                        4 H ere,the Foreclosure Coul't asserted

  jurisdiction over the Property before the instantaction commenced. This factor,therefore,
  weighsin favorofabstention.



  4 Some districtcourts have found this factorweighs againstabstention unless the federalcourt
  assertsjurisdiction overthe property. See e.g.,Burdick v.Bank ofAm.,N A.,99 F.Supp.3d
  1372,1377(S.D.Fla.2015).However,thelanguagefrom theEleventh CircuitinAmbrosiaand
  Jackson-plattsindicatesthateithercourt'sassertion ofjurisdiction overtheproperty weighsin
  favorofabstention.
                                                  6
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          Convenience of the federal forum . The Parties concede that t'the convenience of the

  federalforum isneutral.''(DE 85at5;DE 91at4).
          Potentialfor piecem ealIitigation. Defendantarguesddthere isa potentialforpiecem eal

  litigationbecausethereisariskofinconsistentresults.''(DE 85at5).Plaintiffrespondsthatthe
  twocasesdealwithdifferentissuesand,therefore,wouldnotleadtoinconsistentresults.(DE 91
  at4).
          Cdlkun of the m ill piecem eal litigation w ill not do: this factor does not favor abstention

  unless the circum stances enveloping those cases will likely lead to piecem eallitigation that is

  abnonnally excessive or deleterious.'' Jackson-platts,7l7 F.3d at 1142 (internalquotations
  omitted). Here,although permittingbothcasesto proceedmightleadtoinconsistentresultsand
  wastejudicialresourccs,anypiecemeallitigation isnotabnormallyexcessive. Accordingly,this
  factorw eighsagainstabstention.

          Theorderinwhichjurisdiction wasobtained.Defendantrepresentsthat,ddnotonlydid
  the foreclosure courtassume jurisdiction overthe parties and the subjectproperty first,the
  foreclosureaction hasadvanced tothepost-judgment,appellatestage.''(DE 85 at6). Plaintiff
  responds thatthis m erely highlights the fact that Plaintiff could not have broughtthe current

  issuesin theForeclosureAction asonly one oftheclaimswasripe. (DE 91at4). Plaintiffis
  correct in noting m ost ofhis original claims allege RESPA violations involving conductthat

  occurred afterthe foreclosurejudgment. However,the'success ofthose claims is ultimately
  basedonthemain claim alleging impermissible conductbeforetheforeclosurejudgment- that
  Defendantviolated RESPA inproceeding to the Trial.s




   5 In addition, asto those claimsinvolving conductoccurring aherthe foreclosurejudgment,I
  havealreadygrantedsummaryjudgmentonthoseclaimsinfavorofDefendant.
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          Thefourth factor'tshould notbem easured exclusively by which complaintwasfiledtirst,

  butratherin termsot-how much progresshasbeen maéein thetwo actions.'' Ambrosia,368
  F.3dat1333(quotinguoseszz cone,460u.s.at21).Here,theForeclosureActionhasalready
  proceeded to trial,and iscurrently on appeal. Although discovery has been conducted in this

  case, the Parties have yet to proceed to trial. A ccordingly, this factor weighs in favor of

  abstention.

          StateversusfederalIaw. Defendantargues:i'although the (Fqoreclosure gAlction was
  governed by state law,Plaintiffraised in thatforum the sam e question offederal1aw he raises

  here....A statecoul'
                     tisfullycapableofdeciding issuesoffederallam ''(DE 85at6).Plaintiff
  notesthe currentaction isbased solely on federallaw. (DE 91 at5). Aseach ofPlaintiff's
  currentclaim s is based on federallaw ,thisfactortherefore w eighsagainstabstention.

          Adequacy ofthe state court. As to the sixth factor,Defendantarguesthatin 'çraising

  these federal-law issuesbeforethe foreclosure court,Plaintiffacknowledgesthatthe state court

  can adequately protecthisrights.'' (DE 85 at6). PlaintiffrespondsthattheForeclosure Court
  has already ruled against him and this creates prejudice in later seeking damages in the
  ForeclosureAction. (DE 91 at5). Plaintiffalso arguesthat sincethe majority ofPlaintiffs
  claims were notripe untilafter the foreclosure judgment the state courtcannotprotecthis
  rights.(1d.).
          As to Plaintiff's perceived 'tprejudice,''the factthattheForeclosure Courthas ruled
  againstPlaintiffdoesnotconstitute prejudice itmerely indicatesthe statecourtdid notagree
  w ith Plaintiff on the m erits. Turning to the reference of the tim ing of the claim s,it istrue that

  mostofhiscurrentclaimsoccurred afterthe foreclosurejudgmentwasentered. However,the
   success of a11ofPlaintiff's claim s turn on his firstclaim    thatDefendantviolated RESPA by



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  movingforforeclosurejudgment.Plaintiffcould,and did,raisethisissuebeforetheForeclosure
  Court.

           Here, the state court can protect Plaintiff s rights. The Sifact that both forum s are

  adequate to protect the parties'rights m erely renders this factor neutral.'' Jackson-platts,727

  F.3dat1143(internalquotationsomitted).
           Reactive nature of the instant Iitigation.       D efendant argues that the record

  demonstratesthiscaseisvexatiousorreactivebecause:(1)Plaintiffseeksrecovery oflitigation
  costsincurredintheForeclosureAction;(2)Plaintiffwaited 11monthsfrom thecommencement
  of the foreclosure action to file the loss mitigation application; (3) Plaintiff admitted on
  December10,2014,beforetheforeclosurejudgment,thatheretainedcounselto commencethis
  action;(4)and PlaintiffonlysentthelossmitigationapplicationaftertheForeclosureCourtseta
  trialdate.(DE 85at7).
         Plaintiff responds that (1) he only seeks recovery of costs caused by violations of
  RESPA;(2)itwasDefendant'sobligationto continuethetrial;(3)Plaintiffclarifiedthathewas
  refening to counselthatwas Sdcurrently handling the appealand (1the motion forrehearing,
  which iswholly and clearly separateand apartfrom theinstantproceedingsi'' (4)and mostof
  Plaintiff'sclaimsoccurredaftertheforeclosurejudgmentwasentered.(DE 91at6).
         ln reply,Defendantarguesthat,regardlessofPlaintiffsclarification,Csplaintiffconfirm ed

  thathehadcounselreadytofileafederalaction''fortheRESPA claims.(DE 94at4).
         A courtcan considerthe Sssequence ofevents,''in detennining w hethera case isreactive.

  Allen v.fouisiana State#tf ofDentistry 835 F.2d 100,105 (5th Cir.1988). A case may be
  consideredreactiveSkif(plaintifflwenttofederalcourtsolely inreactiontoitsfailureinthegstate
  courty.''VillaMarina YachtSales,Inc.v.HatterasYachts,915F.2d 7,15(1stCir.1990).


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          Having reviewed the record,it is unclear whether the instant suit was filed solely in

   reaction to Plaintiffs failure in state court. Plaintiff soughtoutside counselin preparation to

   bring a claim based on violationsofRESPA,and he only filed thoseclaimsaftertheForeclosure

   Courtrejeded them in the M otion forRehearing. However,Plaintiffdid notfile the instant
   action immediately afterthe M otion for Rehearing wasdenied on January 28, 2015,butw aited

   untilA ugust 27,2016. Based on the tim eline,I cannot say that this action w as filed solely in

   reaction to the failure in state court. A ccordingly,the reaetive nature ofthis suitis neutral.

          Policyinfavorofabstention.Finally,DefendantcontendsGsgtlhefactthatfederalcourts
   recognizetheconcurrentjurisdiction ofstatecourtsto hearandresolveRESPA claimsevincesa
   policy favoring abstention.'' (DE 85 at6). Plaintiff did not address this argum ent in his
   reSPOnSe.

          RESPA provides for concurrent J'urisdiction, w hich indicates a policy in favor of

   abstention. SeeBeepot,No.3:10-CV-423-J-34TEM ,2011W L 4529604,at*9 (noting afederal
   statuteprovided k'forconcurrentjurisdiction in thestateandfederalcourts...evincingapolicy
   favoring abstention'');Blake v.WellsFargo Bank NA,917 F.Supp.2d 732,738 (S.D.Ohio
   2013).Itindthisweighsinfavorofabstention.
          111.    CO N C LU SIO N

          Having review ed the Colorado River factors and policy considerations- noting thatthe

  jurisdiction overproperty,the orderin which jurisdiction was obtained,and thepolicy under
   RESPA each w eigh in favor of abstention- l find abstention is w arranted under these

   circum stances. This conclusion is in line w ith other cases sim ilarly finding thatColorado River

   abstention is appropriate where there is an ongoing foreclosure action. See e.g., D elaney v.

   Specialized Loan Servicing,LLC,No.15 C 5260,2015 W L 7776902,at*4 (N.D.111.Dec.3,
   2015)(abstaining underColorado Riverfrom adjudicating RESPA claimsin lightofongoing
                                                    10
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   foreclosureactionandcompilingcasesfindingthesame);Shedd v.Bankofzqm.,N A., N o.4:13-
   CV-l8 CDL,2013 W L 4056359,at*7 (M .D.Ga.Aug.12,2013)(abstaining underColorado
   Riverbasedonconcurrentforeclosureaction).
             kigA) stay,nota dismissal,isthe proper proceduralmechanism for a districtcourtto
   em ploy when deferring to a parallelstate-courtproceeding underthe Colorado River doctrine.''

   M oorer,374 F.3d at998.A stay is,therefore, appropriate. A ecordingly,itis hereby

          O R DER ED A N D A DJUD G ED that Defendant's M otion for the Court's Abstention

   from Exercising Jurisdiction (DE 85) is GRANTED. This case is STA Y ED pending final
   resolution of the foreclosure action. Allpending motions are DENIED without prejudice

   subjectto refiling if and when the stay islifted. The Clerk ofCourtshalladministratively
   CLOSE thiscase. A1ldeadlines,including the M ay 31,2016 trialdate,are TERM INATED .

   Any m otion to liftthe stay m ustbe filed w ithin 20 daysofthe resolution ofthe state foreclosure

   action.

          DONE AND ORDERED in Chambersin W estPalm Beach,Floridaon this23rd day of

   M ay,2016.


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                                               UN ITED STA TES D ISTRICT JU D GE
   Copiesto:       CounselofRecord
